           Case 3:12-cr-03344-AJB                      Document 52               Filed 12/05/12              PageID.134                     Page 1 of 2


      'AO 245B (CASD) (Rev. 1112)   Judgment in a Criminal Case
                 Sheet 1



                                               UNITED STATES DISTRICT C~lrlfrT-5 P}i 2: 52
                                                   SOUTHERN DISTRlCT OF CALIFORNIA                                               . ~., ,f'\lmn
                                                                                                          .. ~ .. ~-~   '~ .. ::: ~_:~'-'z~'l,l-ifQ~,N!;"~
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A cCRIMINAL CASE
                                         v.                                        (For Offenses CO~~itted On or A~Jt 1987)

                   DANNY CASTILLO-ENRIQUEZ (01)                                    Case Number: 12CR3344-AJB-OI
                                                                                    Kathryn A. Thickstun CJA
                                                                                   Defendant's Attomey
    REGISTRATION NO. 36274298

    o
    THE DEFENDANT:
     181pleaded guilty to count(s) _O_n_e_o_f_th_e_I_n_fo_rm_a_ti_on_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                      Count
     Title & Section                          Nature ofOfTense                                                                                       Number(s)
8 USC 1324(a)(l)(A)(ii)                Inducing and Encouraging Illegal Aliens to Enter the United States                                                    I




        The defendant is sentenced as provided in pages 2 through _~=--_ of this judgment. The sentence is imposed pursuant
  o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)
      Count(s)                                              -------0----------------­
  O              _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is          areO dismissed on the motion of the United States.
  181 Assessment: $100.00


  181 Fine waived                                   o Forfeiture pursuant to order filed -------- , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                                     12CR3344-AJB-OI
     Case 3:12-cr-03344-AJB                      Document 52       Filed 12/05/12          PageID.135        Page 2 of 2

AO 245B (CASD) (Rev. Jl12) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                             Judgment - Page _ _2_ of        2
 DEFENDANT: DANNY CASTILLO-ENRlQUEZ (01)
 CASE NUMBER: 12CR3344-AJB-Ol
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         SIX (6) MONTHS



    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op·m.     on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before --------------------------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                                to

 at _________________ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                   By ________~~~~~~~~~----------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                12CR3344-AJB-Ol
